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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                             CENTRAL DIVISION

BRIAN JAMES HICKS                                                           PETITIONER
ADC #138964

v.                          CASE NO. 4:22-CV-01074-BSM

LESLIE RUTLEDGE                                                            RESPONDENT

                                         ORDER

       After careful review of the record, United States Magistrate Judge Jerome T.

Kearney’s recommended disposition [Doc. No. 15] is adopted. Brian Hicks’s petition is

denied and dismissed without prejudice, and a certificate of appealability is denied. Hicks’s

motions to amend petition [Doc. Nos. 2 & 6], motion for copies [Doc. No. 4], motions to

vacate [Doc. Nos. 8 & 11], and motions for summary judgment [Doc. Nos. 10 & 12] are

denied as moot.

       Additionally, Hicks’s latest motion to vacate [Doc. No. 16] is also denied as moot for

the same reasons set forth in the recommended disposition.

       IT IS SO ORDERED this 15th day of September, 2023.


                                                   ________________________________
                                                   UNITED STATES DISTRICT JUDGE
